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                                                                                                       FILED
 .~                                                                                            U.S. OJSTRICT COURT
'~TPW/JCC:   USAO 2019R00227                                                              0lS1 R!!>] OF 11ARYLA/W

                                IN THE UNITED STATES DISTRICT COURT                      2015 APR 10 PM 2: 5
                                   FOR THE DISTRICT OF MARYLAND                                 r'.       '" a"FI
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                                                                                                 AT GREENBELT
      UNITED STATES OF A.'fERICA                          *                            .~::l           .g,;---
                                                                                       "'BY-LJ}          __ OOfEPUTY
                                                          *
               v.                                         *      CRIMINAL     NO'I/i             lC\ uL ~\
                                                          *
      RONDELL HENRY,                                      *      (Interstate Transportation  of Stolen
                                                          *      Vehicle, 18 U.S.c. ~ 2312; Forfeiture,
                          Defendant                       *      18 U.S.c. ~~ 981(a)(I)(C) and
                                                          *      982(a)(5), 21 U.S.c. ~ 853(p),
                                                          *      28 U.S.c. ~ 2461(c»
                                                          *
                                                      *******
                                                   INDICTMENT

                                                    COUNT ONE
                                  (Interstate   Transportation of Stolen Vehicle)

              The Grand Jury for the District of Maryland charges that:

              On or about March 27, 2019, in the District of Maryland and elsewhere, the defendant,

                                                RONDELL HENRY,

    did transport in interstate commerce from Virginia to Maryland a motor vehicle-that              is, a

     U-Haul van-knowing          the same to have been stolen.




     18 U.S.C.      S 2312
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                                    FORFEITURE ALLEGATION

        The Grand Jury for the District of Maryland further finds that:

         I.        Pursuant to Rule 32.2, Fed. R. Crim. P., notice is hereby given to the defendant

that the United States will seek forfeiture as part of any sentence in accordance with 18 U.S.c.

SS 98 I(a)(l)(C)    and 982(a)(5), 21 U.S.c.    S 853(p),   and 28 U.S.c.   S 246l(c),   in the event of the

defendant's conviction under Count One of this Indictment.

        2.         As a result of the offense set forth in Count One, the defendant,

                                          RONDELL HENRY,

shall forfeit to the United States any property, real and personal, which constitutes or is derived

from proceeds traceable to such violation, and any property, real and personal, which represents

or is traceable to the gross proceeds obtained, directly or indirectly, as a result of such violation.

        3.         If, as a result of any act or omission of the defendant, any such property subject to

forfeiture:

                   a.     cannot be located upon the exercise of due diligence;

                   b.     has been transferred or sold to, or deposited with, a third person;

                   c.     has been placed beyond the jurisdiction of the Court;

                   d.     has been substantially diminished in value; or

                   e.     has been commingled with other property which cannot be subdivided

                          without difficulty,




                                                      2
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the United States of America, pursuant to 21 U.S.C.   S 853(P),   shall be entitled to forfeiture of

substitute property.




18 U.S.C.    S 981 (a)(l )(C)
18 U.S.c.    S 982(a)(5)
21 U.S.C.    S 853(P)
28 U.S.c.    S 2461 (c)


                                             fG:,J,wt K.          /Iuq-   /@
                                            Robert K. Hur          .
                                            United States Attorney

A TRUE BILL:


SIGNATURE REDACTED                          Date:     April 10, 2019
Foreperson




                                               3
